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                    P.O. Box 814529
                    Farmers Branch, TX 75381-4529
                    888.616.5400 toll free
                    844.897.5703 fax
                    www.rushmorelm.com




                                                                                                                    February 17, 2021

     LINDA TROSPER
     2220 WAYNE ST
     LAKE     STATION IN 46405-2545
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                                           Notice of Sale of Ownership of Mortgage Loan

        Under federal law, borrowers are required to be notified in writing whenever ownership of a mortgage loan secured by their
        principal dwelling is sold, transferred or assigned (collectively, “sold”) to a new creditor. This Notice is to inform you that
        your prior creditor has sold your loan (described below) to us, the new creditor identified below.
        **NOTE: The new creditor identified below is not the servicer of your loan. The servicer (identified below) acts on
        behalf of the new creditor to handle the ongoing administration of your loan, including the collection of mortgage
        payments. Please continue to send your mortgage payments as directed by the servicer, and NOT to the new creditor.
        Payments sent to the new creditor instead of the servicer may result in late charges on your loan and your account
        becoming past due. Neither the new creditor nor the servicer is responsible for late charges or other consequences of
        any misdirected payment.
        SHOULD YOU HAVE ANY QUESTIONS REGARDING YOUR LOAN, PLEASE CONTACT THE SERVICER
        USING THE CONTACT INFORMATION SET FORTH BELOW. The servicer is authorized to handle routine
        inquiries and requests regarding your loan and, if necessary, to inform the new creditor of your request and
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        communicate to you any decision with respect to such request. **
        Please note that the sale of your loan to us may also result in a change of servicer. If this occurs, you will receive a separate
        notice, required under federal law, providing information regarding the new servicer.
          LOAN INFORMATION
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          Date of Loan:                                11/02/2009
          Original Amount of Loan:                     $83,435.00
          Date Your Loan was Sold to the New Creditor: 01/26/2021
          Prior Loan Number:                                                      2793
          Current Loan Number:                                                 1484
          Address of Mortgaged Property:                                 2220 WAYNE ST
                                                                         LAKE STATION, IN 46405

          SERVICER INFORMATION
          Name:                                                          Rushmore Loan Management Services LLC
          Mailing Address:                                               1755 Wittington Place, Suite 400
                                                                         Dallas, TX 75234

          Telephone Number (Toll free):                                  (888) 616-5400

          Website:                                                       Rushmorelm.com

          Scope of responsibilities: The servicer is responsible for all ongoing administration of your loan, including receipt and
          processing of payments, resolution of payment related issues, and response to any other inquiries you may have regarding
          your loan.
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     NEW CREDITOR INFORMATION
     Please be advised that all questions involving the administration of your loan (including questions related to
     payments, deferrals, modifications or foreclosures) should be directed to the servicer at the number above and/or
     the agent (if any) of the new creditor identified below, and not to the new creditor. The new creditor does not have
     access to information relating to the administration of your loan, and will not be able to answer most loan-related
     questions.

     Name:                                      U.S. Bank National Association, not in its individual capacity but solely as
                                                trustee for the RMAC Trust, Series 2018 G-CTT
     Mailing Address (not for payments):        60 Livingston Avenue
                                                St. Paul, MN 55107-2292

     Telephone Number:                          800-236-3488
     Scope of responsibilities: The above-named new creditor holds legal title to your loan and is authorized to receive legal
     notices and to exercise (or cause an agent on its behalf to exercise) certain rights of ownership with respect to your loan.
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     Partial Payments

     Your lender

     _____    May accept payments that are less than the full amount due (partial payments) and apply them to your loan

       X       May hold them in a separate account until you pay the rest of the payment, and then apply the full payment to your
               loan

     _____    Does not accept any partial payments

     If this loan is sold, your new lender may have a different policy.

     The transfer of the lien associated with your loan is currently recorded, or in the future may be recorded, in the public records
     of the local County Recorder’s office for the county where your property is located. Ownership of your loan may also be
     recorded on the registry of the Mortgage Electronic Registrations System at 1818 Library Street, Suite 300, Reston, VA
     20190.




                                                            ADDITIONAL NOTICES

     Rushmore Loan Management Services LLC is a Debt Collector, who is attempting to collect a debt. Any information obtained will be used
     for that purpose. However, if you are in Bankruptcy or received a Bankruptcy Discharge of this debt, this letter is being sent for
     informational purposes only, is not an attempt to collect a debt and does not constitute a notice of personal liability with respect to the
     debt.

     If you have any other mortgage loans secured by the same property not serviced by Rushmore, please contact your other servicer directly
     to discuss any possible loss mitigation options that may be available to you.

     If you are a confirmed Successor-in-Interest who has not assumed the mortgage loan obligation under State Law, this letter is being sent
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     for information purposes only and does not constitute personal liability with respect to the debt.

     LEGAL NOTIFICATION: Rushmore Loan Management Services LLC may report information about your account to credit bureaus.
     Late payments, missed payments or other defaults on your account may be reflected in your credit report.

     Notice of Error Resolution & Information Request Procedures
     The following outlines the Error Resolution and Information Request Procedures for your mortgage account at Rushmore Loan
     Management Services LLC (RLMS). Please keep this document for your records.
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     If you think an error has occurred on your mortgage account or if you need specific information about the servicing of
     your loan, please write us at:
                                                  Rushmore Loan Management Services LLC
                                                                 P.O. Box 52262
                                                         Irvine, California 92619-2262

     All written requests for information or notices of error should contain the following information:

     1. Your name
     2. Account number
     3. Property Address
     4. Description of the error and explanation as to why you believe it is an error or a request for specific information regarding the
     servicing of your loan
     5. Current contact information so we may follow up with you

     All written requests for specific information will be handled within 30 days of receipt. We will determine whether an error occurred
     within 30 days after receiving your notice of error and will correct any error promptly (Notices of error on payoff statements will be
     handled within 7 days). If additional time is needed to investigate your complaint or request, we may take up to 45 days but we will notify
     you of the extension within the original 30 days. If we decide that there was no error, we will send you a written explanation. You may
     ask for copies of the documents that we used in our investigation.
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     HUD STATEMENT

     Pursuant to section 169 of the Housing and Community Development Act of 1987, you may have the opportunity to receive counseling
     from various local agencies regarding the retention of your home. You may obtain a list of the HUD approved housing counseling agencies
     by calling the HUD nationwide toll free telephone at 1-800-569-4287.

     Equal Credit Opportunity Act Disclosure

     NOTICE: The federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis of race,
     color, religion, national origin, sex, marital status, age (provided the applicant has the capacity to enter into a binding contract); because all
     or part of the applicant's income derives from any public assistance program; or because the applicant has in good faith exercised any right
     under the Consumer Credit Protection Act. The federal agency that administers compliance with this law concerning this creditor is the
     Bureau of Consumer Financial Protection, 1700 G Street NW, Washington, DC 20552.

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